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                                     UNITED STATES COURTS
                                 EASTERN DISTRICT OF NEW YORK
                                    QUALITY CONTROL CHECK
                                      ATTORNEY CASE OPENINGS
                                                    Corrections


 1
     Were Corrections made to this ACO case?
          Attorney did not complete the initiating documents.                       □
                                                                                    ✔       Yes
                                                                                                    □      No

          Checked on http://www.nyed.circ2.dcn/cfm/ecf/atyopencase.cfm to determine who the
          attorney was that attempted to file the case and contacted that attorney in order to retrieve
          Complaint, Cover Sheet, Summons, and payment information or to advise the attorney to             □
          file the initiating documents.
 2        Court Designation was incorrect. Copied case, changed Court designation, deleted
          incorrect case and advised other Court. This is in conjunction with Paragraph 10-NY-E
          Division of Business Rule 50.1(d)(2)                                                              □
 3        Attorney did not separate the initiating document. Separated document into individual

                                                                                                            □
          attachments. Replaced Main document and attached the cover sheet and Summons (if
          applicable).
 4        Attorney did not include    u      Complaint      u      Cover Sheet     u     Summons
          Contacted attorney and retrieved missing document from attorney.
          Attorney used               Incorrect Form of Summons
                                                                                 □
                                                                                Defendant’s name and
                                                                                                            □
 5
                                □
          address not completed □
                                                                       □
                                           Plaintiff’s attorney name and address not completed.
         □ CaptionIncorrect
                      on the summons does not match caption on the complaint.
               □               Date.
                                     □    Incorrect Case Number
          Contacted attorney and requested a corrected summons.
                                                                                                            □
 6        Attorney used incorrect event when docketing the initiating document.
          Deleted document and re-docketed using the correct event.                                         □
 7
               □ Corrected  Party Role
                  Added missing Party
                                                  □ Party spelling □ $GGHG &RUSRUDWH 3DUHQWV
               □ Converted from All Caps to Initial Caps
               □ Added party text
               □                        □      Removed party text
                                                                           □ Added alias                    □
 8        Corrected Short Title                                                                                     I
 9        Corrected    u    Basis of Jurisdiction
                                                 □LJ
                                                                  u
                                                      $UELWUDWLRQ&RGH   Citizenship of Principal Parties
                                                     Cause of Action □ Fee Status □ County Code
                       □ Dollar Demand Jury Demand
                            Nature of Suit

 10
                       □                         □                    □ Class Action
                                                                                     □   Origin
          NY-E Division of Business Rule 50.1(d)(2) was not completed. Contacted attorney and
                                                                                                            □
          retrieved corrected cover sheet and replaced on docket sheet.
                                     Added case in other court to docket sheet.
                                                                                                            □
 11
 12          Added/Corrected Disclosure Statement question and response in docket entry to No               -□  ✔
 13                  Page 1, Question 1(b) Plaintiff's county of residence was not indicated
 14                        Page 2, Question 2(c) was not completed or is inconsistent                        -
 15                           Certification of Arbitration Eligibility not completed                        n
Other


                                                                                                            □
